                                 1                          UNITED STATES DISTRICT COURT
                                 2
                                                           FOR THE DISTRICT OF ALASKA
                                 3     William Tate, Individually,     )
                                       and Susie Sours as              )
                                 4
                                       Co-Guardians of Cynthia         )
                                 5     Tate, and M.T., G.T, M.T.,      )
                                       T.T, and M.T., minor children )
                                 6                                     )
                                            Plaintiff,                 )
                                 7                                     )
                                            vs.                        )    Case no. 3:14-cv-00242 JWS
                                 8                                     )
                                       UNITED STATES OF AMERICA        )
                                 9                                     )
                                                                       )
                                 10
                                                       Defendant.      )
                                 11                                    )

                                 12

                                 13                         Order Granting Leave to Amend

                                 14            THIS COURT, having been presented with "Plaintiff's Motion
LAW OFFICES OF DAVID HENDERSON




                                 15    for   Leave   to   Amend   Complaint";   having   been    presented   with
      Phone: (90)7 543-7891




                                       defendant United States' opposition or response thereto; having
      Bethel, Alaska 99559




                                 16
       Fax: (907) 543-1924
          P.O. Box 2441




                                 17    found no prejudice or other reason why leave should not be

                                 18    freely granted in this instance;

                                 19            HEREBY ORDERS THAT the motion is GRANTED.        The Clerk of the

                                 20
                                       Court shall accept the lodged pleading entitled "First Amended

                                       Complaint for Damages."
                                 21
                                               DATED AT ____________, Alaska, this ____ day of March,
                                 22
                                       2015.
                                 23

                                 24
                                                                          _______________________________
                                 25                                       United   States   District   Court
                                                                          Judge




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